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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                         )
SOLENEX LLC,                             ) Civil Case No. 13-00993 (RJL)
                                         )
              Plaintiff,                 )
                                         )
                    v.                   )
                                         )
S.M.R. JEWELL, et al.,                   )
                                         )
              Defendants.                )
                                         )

                                      APPENDIX
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                            FOREST SERVICE DOCUMENTS
                              (FS003001 through FS006282)
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